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AFFIDAVIT

I, Lisa Rudnicki, having been duly sworn, on cath depose and
state that:

1. I am a Special Agent with the Bureau of Alcohol,
Tobacco, Firearms & Explosives (“ATF”), and have been so employed
since February, 1996. In that capacity, I investigate violations
of the federal firearms statutes and have participated in many
investigations relating to the unlawful possession of firearms.

2. Based on my training and experience, I am aware that
Title 18, United States Code, Section 922(g) (1) makes it a
federal offense for any individual who has previously been
convicted of a felony offense to possess a firearm or ammunition
in or affecting interstate commerce. Having so stated, I make
this affidavit in support of a complaint charging KING BELIN
with being a felon in possession of a firearm and ammunition in
violation of that statute.

3. The statements contained in this affidavit are based on
my own investigation, work done by other ATF Agents, and on
information provided to me by officers of the Boston Police
Department (“BPD”). This affidavit is submitted for the limited
purpose of establishing probable cause to believe BELIN violated
18 U.S.C. §922(g) (1), and therefore does not set forth all of the
information that I and other law enforcement personnel have

obtained during the course of this investigation.
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4. At approximately 6:45 p.m. on September 17, 2012, Boston
Police dispatchers put out a call for a group of kids fighting at
the intersection of Norfolk and Fessenden Streets in Mattapan.
Officers Phillip Bissonnette and Thomas Quinn, who were on patrol
in the area, responded to the call. Both officers (as well as
others who responded to the scene) were working out of District
B-3 in Mattapan and knew that the address at issue was adjacent
to Norfolk Park and a place where there has historically been a
substantial amount of firearm-related incidents.

5. Upon arrival, the officers saw a group of five men
walking on Norfolk Street near the intersection of Mildred
Avenue. When the officers approached this group to speak with
them, Officer Bissonnette noted that one member of the group
peeled away and began walking down Mildred Avenue and that, in
doing so, avoided making eye contact with the officers as he
passed them. Officer Bissonnette recognized this individual to
be KING BELIN, who officer Bissonnette had arrested in 2009 for
illegally carrying a firearm, and noted that BELIN was wearing
what appeared to be a heavy sweatshirt despite the warmth of the
evening. Officer Bissonnette followed BELIN and called out to
him, saying, “Yo King, what’s going on.”

6. Officer Bissonnette attempted to engage BELIN in
conversation as BELIN continued to move down Mildred Street,
immediately adjacent to a playground where adults and children

were playing. When BELIN finally acknowledged Bissonnette and
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turned towards him to speak, Officer Bissonnette asked BELIN if
“he had anything on him.”

7. Bissonnette noted that BELIN’s demeanor immediately
changed after being asked this question, becoming nervous, taking
a deep breath and then breathing at a quick and shallow rate.
BELIN then turned away from Bissonnette and looked around as if
searching for a means of escape. Based on the totality of the
circumstances, Officer Bissonnette decided to pat frisk BELIN for
weapons.

8. Officer Bissonnette took hold of BELIN’s right arm in
order to stop him from fleeing and to perform the frisk. In
response, BELIN immediately reached to his waist with both hands.
Concerned that BELIN might be reaching for a weapon, Bissonnette
grabbed both of BELIN's hands, held them to his chest, and told
BELIN to relax. Rather than comply, BELIN’s resistance only
increased, as he hunched over and again attempted to reach to his
waist in disregard of Bissonnette’s repeated commands.
Ultimately, other officers came over to assist and were able put
BELIN to the ground and handcuff him so that he could be frisked.

9. Once BELIN was secured, officers rolled him onto his
side in order to perform the pat frisk. When they did so, his
sweatshirt pulled up revealing a firearm tucked in his waist.

Officer Bissonnette removed the gun and placed BELIN under arrest
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based on his knowledge that BELIN could not legally carry a
firearm based on his prior gun conviction.

10. The firearm recovered from BELIN’s waist was a Ruger
Model P95 9mm semi-automatic handgun (“the Ruger 9mm”) that had
an obliterated serial number and was found to contain 11 rounds
of 9mm ammunition. During a post-arrest search of BELIN
conducted on scene, officers discovered that he was carrying four
bags of marijuana anda package of Newport cigarettes that
contained a plastic bag with 5 more rounds of 9mm ammunition.

11. After the Ruger 9mm and the 16 rounds of ammunition
recovered had been processed and placed into evidence, the gun
successfully test fired and the rounds it contained certified to
be ammunition by the BPD's Ballistics Unit, they were inspected
by ATF S/A Mattheu Kelsch, who is trained to perform interstate
commerce nexus examinations. S/A Kelsch examined the Ruger 9mm
and the 16 rounds of ammunition, confirmed that they were a
“firearm” and “ammunition” for purposes of federal law, and
determined that both the firearm and all of the ammunition had
been manufactured outside Massachusetts, meaning that they had
traveled across state lines or international boundaries prior to
being seized in Dorchester on September 17, 2012.

12. The firearm and the magazine in it at the time of
BELIN’s arrest were also examined by BPD’s Latent Print Unit. On
October 18, 2012, fingerprint examiners determined that two

fingerprints separately recovered from the magazine of the Ruger
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9mm and the plastic bag containing the five extra rounds of
ammunition were from BELIN’s left thumb.

13. I have reviewed BELIN’S criminal record as maintained
by the Massachusetts Criminal History Systems Board. It reveals,
among other things, that BELIN was convicted in 2010 in Suffolk
Superior Court on charges of possessing a firearm without a
license. Based on my training and experience, I know that this
is a crime punishable under Massachusetts law by imprisonment for
more than one year.

14. Based on the foregoing, I submit that there is probable
cause to believe that, on or about September 17, 2012, KING
BELIN, having been previously convicted of a crime punishable by
a term of imprisonment exceeding one year, did possess, in and
affecting commerce, a firearm and ammunition in violation of

Title 18, United States Code, Section 922 (g) (1).

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LISA RUDNICKI
Special Agent, ATF

Sworn and subscribed to before me this 13th day of November,

2012.

 
